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Message                                                                                                             Page 1 of 1
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Anna Levine

From:      Anna Levine
Sent:      Wednesday, December 08, 2010 4:20 PM
To:        'Brenner, Wendy'
Subject: Enyart: Proposal for Third Preliminary Injunction

Dear Wendy,

Thank you for your message this afternoon. As I previously raised at the hearing on NCBE's motion for
continuance last Friday, and discussed afterwards with Greg, Stephanie would like this third preliminary
injunction to address technological problems that arose at the July and August 2010 test administrations.
Attached is a proposal aimed at addressing those problems.

I understand from Dan Goldstein that NCBE, in turn, would like any stipulated preliminary injunction
to include (1) an agreement that the stipulated injunction will not be used as evidence of their liability and
(2) a provision that their agreement is void if the Ninth Circuit issues a decision before the February test
administration.

To address (1), I have inserted a paragraph at the end of the attached document, borrowing from
language that we included, at NCBE's request, in the cover letter filed with the stipulated terms for the
second preliminary injunction order. We would be glad to hear your suggestions regarding (2).

I will be available by telephone all day tomorrow, and look forward to talking with you about this.
Sincerely,


Anna

Anna Levine, Staff Attorney
Disability Rights Advocates
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 1/13/2011
